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UNITED STATES DISTRICT COURT
FOR THE
SOUTI'[ERN DISTRICT OF CALIFORNIA

Petition for Warrant or Summons for Offender Under Supervision

Name of Offender: Demetrius Dontai Windom (English) Dkt No.: 13CR04225-001-H
Also Known As: Demetrius Windom-Donita

Reg. No.: 40806-298

Name of Sentencing J udicial Officer: The Honorable Marilyn L. Huff, Senior U.S. District Judge

Original 0ffense: 8 U.S.C. § 1324(a)(1)(A)(ii) and (v)(II), Transportation of Illegal Aliens and Aiding and
Abetting, a Class C felony.

Date of Revocation Sentence: May 23, 2016

Sentence: 6 months’ custody; l year’s supervised release. (Special Conditions: Refar to Judgment and
Commz`tment Order.)

Type of Supervision: Supervised Release Date Supervision Commenced: August 25, 2016
Asst. U.S. Atty.: Alexandra P. Foster Defense Counsel: Keith H. Rutman
(Appointed)
(619) 23 7-9072

Violation History: Yes. Please refer to prior court correspondence

 

PETITIONING THE COURT

TO ISSUE A NO-BAIL BENCH WARRANT

The probation officer believes that the offender has violated the following conditions of supervision:

 

CONDITIONS ALLEGATIONS OF NONCOMPLIANCE

(Mandatory Condition)

Not commit another federal, state, or local l. On or about January 30, 2017, Mr. Windom drove a
crime. (nvl) motor vehicle without a valid license, in violation of

California Vehicle Code § 12500(a), a misdemeanor,
as evidenced by Riverside County Sheriff’s
Department Citation No. 303734.

Grounds' for Revocation: I have received and reviewed Riverside County Sherift’s Department Citation No.
303734, which reflects that on or about January 30, 2017, at approximately 7:00 a.m., Mr. Window was cited
for the following trach violations: California Veh.icle Code § 12500(a), Driving without a Valid License;
Califomia Vehicle Code § 5200(a), No Rear License Plate on Vehicle (an infraction), and Califomia Vehicle
Code § 16028(a), No Proof of Insurance (an infraction).

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(Mandatory Condition)

The defendant shall not illegally possess a 2. On or about January 6, 2017, Mr. Windom used
controlled substance. The defendant shall cocaine, marijuana, and opiates, controlled
refrain from any unlawful use of a substances, as evidenced by his written admission to
controlled substance. Submit to one drug the probation officer (on February 8, 2017).

test within 15 days of release from

imprisonment and at least two periodic 3. On or about January 13, 2017, Mr. Windom used
drug tests thereafter. Testing requirements cocaine, opiates, methamphetamine, and marijuana,
will not exceed submission of more than controlled substances, as evidenced by his written
four (4) drug tests per month during the admission to the probation officer (on
term of supervision, unless otherwise February 8, 2017).

ordered by the court. (nv3)
4. Mr. Windom used a connolled substance, as
evidenced by the urine sample he submitted in the
Central District of California on February 8, 2017,
which confirmed positive for marijuana metabolite.

5. Mr. Windom used a controlled substance, as
evidenced by the urine sample he submitted in the
Central District of California on March l, 2017,
which confirmed positive for marijuana metabolite. _

6. Mr. Windom used a controlled substance, as
evidenced by the urine sample he submitted in the
Central District of California on or about
March 16, 2017, which continued positive for
marijuana metabolite.

Grounds for Revocation: As to allegation 2, on or about January 6, 2017, Mr. Windom submitted a urine
sample in the Central District of California; the sample subsequently screened positive for cocaine, opiates, and
cannabinoids (ma.rijuana). On February 8, 2017, when confronted with the positive test results, Mr. Window
admitted to the use of illicit substances. He then signed an admission form, formally acknowledging his use of
cocaine, marijuana, and opiates.

As to allegation 3, on or about January 13, 2017, Mr. Windom submitted a urine sample in the Central District
of California; the sample subsequently screened positive for cocaine, opiates, amphetamines, and cannabinoids
(rnarijuana). On February 8, 2017, when confronted with the positive test results, Mr. Window admitted to the
use of illicit substances. He then signed an admission form, formally acknowledging his use of cocaine,
marijuana, methamphetamine, and opiates,

As to allegation 4, I have received and reviewed the written laboratory notification from Alere Toxicology
Services, verifying that the urine specimen submitted by Mr. Windom on February 8, 2017, confirmed positive
for marijuana metabolite.

As to allegation 5, I have received and reviewed the written laboratory notification ii'om Alere Toxicology
Services, verifying that the urine specimen submitted by Mr. Windom on March 1, 2017, confirmed positive for
marijuana metabolite.

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As to allegation 6, I have received and reviewed the written laboratory notification from Alere Toxicology
Services, verifying that the urine specimen submitted by Mr. Windom on March 16, 2017, confirmed positive
for marijuana metabolite.

VIOLATION SENTENCING SUMMARY

SUPERVISION ADJUSTMENT

On September 7, 2016, following his release from federal custody, Mr. Windom reported to the U.S. Probation
Office in El Centro, California He reported he had no money, housing, and he no longer had significant ties to
the Southern District of California He then requested permission to reside with family in Hemet, California
(1ocated in the Central District). The probation officer allowed Mr. Windom to travel to Hemet, pending formal
acceptance of his supervision by the Central District. When the Central District conducted their initial
investigation of Mr. Windom’s purported residence in Hemet, they discovered Mr. Windom was no longer
residing there. Unbeknownst to the probation officers (in both the Southern and Central Districts), Mr. Windom
had relocated to San Bernardino, California, without permission or notification On January 6, 2017, Mr.
Windom’s case was officially accepted by the Central District (afcer continuation of the San Bemardino
address).

As evidenced by the above-noted allegations of noncompliance, by the time the Central District officially
assumed supervision of Mr. Windom’s case, he was actively abusing drugs. According to Mr. Windom’s
probation officer in the Central District, Mr. Windom was instructed to enter a residential substance abuse
treatment program. Specifically, he was offered an opportunity to immediately enter the Salvation Army
Residential Drug Treatment Program. To his credit, Mr. Windom admitted himself into the Salvation Army
program on February 9, 2017, However, he left the program a few days later, on February 15, claiming he was
not comfortable with the program’s religious component Based on his initial willingness to participate in
treatment, Mr. Windom was given a second opportunity to enter another program. He told the probation officer
he was making telephone calls daily to the Gibson House and the Cedar House (residential treatment programs).
Unfortunately, he failed to follow through with a second program and eventually abandoned any attempts to
participate in residential treatment

OFFENDER PERSONAL HISTORY/CHARACTERISTICS

 

Mr. Windom is a 33-year-old male; he last reported residing in San Bemardino, Califomia. With respect to
employment, Mr. Windom reported he had obtained employment towards the end of March 2017, He told the
probation officer he was Working for a “private” contractor (Lincoln), working on a commission-based salary.
He indicated his duties were telephonic collections. The probation officer subsequently contacted the company
and learned that Mr. Windom only worked for the company for a few days before being tenninated. He failed
to notify the Probation Ofiicer of such. The company was aware of Mr. Windom’s supervision status, as the
company works with felons. lt was reported that Mr. Windom simply did not seem to care much for the
employment He was making unacceptable comments to customers. Furthermore, when offered additional
training over the weekend, he declined, stating “weekends are my time.”

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Mr. Windom is concurrently being supervised by San Bemardino County Probation Office. The county
probation matter stems from Mr. Windom’s conviction in lmperial County Superior Court, Dkt. No. ICF34731,
which was the basis of his previous petition for warrant (dated March 9, 2015).

SENTENCING OPTIONS
CUSTODY

Statuto[y Provisions: Upon the finding of a violation, the court may modify the conditions of supervision;
extend the term (if less than the maximum authorized term was previously imposed); or revoke the term of
supervised release. 18 U.S.C. § 3583(e)(2) and (3).

Mandatog Revoeation: lf it is determined that the offender has violated the conditions of supervised release by
testing positive for illegal substances more than 3 times during the course of l year, the court shall revoke
supervised release and impose a sentence that includes a term of imprisonment 18 U.S.C. § 3583(g)(4).

If the court revokes supervised release, the maximum term of imprisonment upon revocation is 2 years.
18 U.S.C. § 3583(¢)(3).

USSG Provisions: The allegations (Driving Without a License and Use of a Controlled Substance) constitute
Grade C violations. USSG §7Bl.l(a)(3)(A)(B), p.s.

Upon a finding of a Grade C violation, the court may (A) revoke supervised release; or (B) extend the term
and/or modify the conditions of supervision USSG §7B1.3(a)(2), p.s.

A Grade C violation with a Criminal History Category V (detennined at the time of sentencing) establishes an
imprisonment range of 7 to 13 months. USSG §7Bl.4, p.s. It is noted that in the case of a Grade C
violation, and where the minimum term of imprisonment determined under USSG §7B1.4, p.s., is more than six
months but not more than ten months, the minimum term may be satisfied by (A) a sentence of imprisonment;
or (B) a sentence of imprisonment that includes a term of supervised release with a condition that substitutes
community confinement... provided that at least one-half of the minimum term is satisfied by imprisonment
USSG §7Bl.3(c)(2), p.s.

Since “the original sentence was the result of a downward departure an upward departure may be warranted”
upon revocation. The court can depart from the available imprisonment range and impose a sentence of up to
the statutory maximum of 24 months, USSG §7B1.4, p.s., comment. (n.4), and 18 U.S.C. § 3583(e)(3).

Finally, if supervised release is revoked and a term of imprisonment is imposed, the court shall order that the
term of imprisonment be served consecutively to any sentence of imprisonment the offender may be serving.
USSG §7B1.3(f), p.s.

REIMPOSITION OF SUPERVISED RELEASE

 

If supervised release is revoked and the offender is required to serve a term of imprisonment, the court can
reimpose supervised release upon release from custody, The length of such a term shall not exceed the term of

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supervised release authorized by statute for the offense that resulted in the original term of supervised release,
less any term of imprisonment imposed upon revocation. 18 U.S.C.§ 3583(h).

In this case, the court has the authority to reimpose a term of 30 months’ supervised release, less any term of
imprisonment imposed upon revocation. The court has previously imposed an aggregate of 6 months’ custody
in this case. 18 U.S.C. § 3583(b).

J'USTIFICATION FOR BENCI-I WARRANT

Mr. Windom has shown no interest in his rehabilitation Although he is actively abusing substances, he ceased
all efforts to comply with residential drug treatment He poses a risk of harm to himself or others, and given his
prior revocation history, he may be a risk of flight. For these reasons, a warrant is justified

RECOMIWIENDATION/JUSTIFICATION

If the allegations of noncompliance are sustained, it is respectfully recommended supervised release be revoked
and Mr. Windom be sentenced to 10 month’s custody, with no additional term of supervised release to follow.
Mr. Windom has shown little initiative concerning his rehabilitation and successful integration in the
eommunity. Because he is unwilling to follow through with treatment requirements, he is deemed unamenable
to continued supervision in the community. As such, reimposition of supervised release is not recommended
herein.

I declare under penalty of perjury that the
foregoing is true and correct.

Executed on: May 30, 2017

Respectfully submitted: Reviewed and approved:
DAVID J. SULTZBAUGH
CHIEF PROBATION OFFICER

M/@/ @Wr L,.Q\

Pascual Linarez
Senior U. S. Probation Offi@ Supervising U.S. Probation Ofticer
(760) 339-4215

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VIOLATION SENTENCING SUMMARY

1. Defendant: Windom, Demetrius Dontai

2. Docket No. (Yea.r-Sequence-Defendant No.): 13CR04225-001-H

3. List Each Violation and Determine the Applicable Grade (See USSG § 7Bl.l):

 

 

 

 

 

 

 

 

Violations w

Driving Without a License C

Use of a Controlled Substance C
4. Most Serious Grade of Violation (See USSG § 7B1.1(b)) [ C ]
5. Criminal History Category (See USSG § 7Bl.4(a)) [ V ]
6. Range of Imprisonment (See USSG § 7Bl.4(a)) [7 to 13 months ]

7. Uosatisfied Conditions of Original Sentence: List any restitution, fine, community confinement, home
detention, or intermittent confinement previously imposed in connection with the sentence for which revocation
is ordered that remains unpaid or unserved at the time of revocation (See USSG § 7Bl .3(d)):

Restitution ($) Community Confinement
Fine($) Home Detention

Other Intermittent Confinement

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THE COURT ORDERS:

AGREE. A NO-BAIL BENCI-I WARRANT BE ISSUED BASED UPON A F[NDING OF
PROBABLE CAUSE TO BR.[NG THE OFFENDER BEFORE THE COURT TO SHOW CAUSE
WHY SUPERVISED RELEASE SHOULD NOT BE REVOK_ED FOR THE ALLEGED
VIOLATIONS.

DISAGREE. THE ISSUANCE OF A SUMMONS ORDERING THE OFFENDER TO APPEAR

BEFORE THE COURT ON , AT , TO SHOW CAUSE WHY SUPERVISED
RELEASE SHOULD NOT BE R.EVOKED.

Other

 

 

 

 

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The Honorable Marllyn L. Htlff U 0 Date
Senior U.S. District Judge

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